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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF GEORGIA
                                 AUGUSTA DIVISION

  IN RE:

  Patricia Mitchell,                                  CASE NO.: 19-10702-SDB

         Debtor.                                      CHAPTER 13



                       MOTION TO APPROVE LOAN MODIFICATION

        COMES NOW Nationstar Mortgage LLC d/b/a Mr. Cooper 

 

 Honorable Court the following:

                                                 1.

        This Court has jurisdiction in this matter pursuant to 28 U.S.C. §§ 1334, 151 and 157.

                                                 2.

        This Court is the proper venue for this matter pursuant to 28 U.S.C. Section 1409.

                                                 3.

        This matter is a core proceeding as defined in 28 U.S.C. Section 157(b)(2)(D).

                                                 4.

         filed the petition for relief in the above-styled Chapter 13

 case on June 2, 2019.

                                                 5.

        Secured Creditor hold a valid lien on the real property located 301 E. Broad Street,

 Louisville, GA 30434.
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                                                 6.

         Under the current loan, the principal amount was $85,220.73 (Claim #11), with a

 maturity date of February 1, 2048. The current interest rate is 5.125% with a monthly

 payment amount of $771.67.
                                                 7.


         Secured Creditor and Debtor have reached an agreement to modify the loan. The

 principal amount owed under the modified loan will be $94,779.69. The interest rate is

 reduced to 3.1250%. The monthly payment amount will be approximately $799.86 including

 monthly escrow of $461.49. The maturity date of the modified loan will be June 1, 2052.
                                              8.

        As part of the Loan Modification Agreement, Debtor and Secured Creditor entered into a

 Subordinate Note and Partial 

 payments until the sale, transfer, or maturity of the underlying loan. The deferred payments total

 $15,789.41. The Loan Modification brings the account contractually current and due for the July

 1, 2022 payment. A copy of the Loan Modification is attached as Exhibit A.

                                                 9.

        Loan

 Modification and to allow recording in land records if necessary. No parties will be prejudiced by

 approval of this agreement.
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        WHEREFORE, Secured Creditor, respectfully requests this Honorable Court enter an

 Order Granting the Motion to Approve Loan Modification, and for any such further relief as this

 Honorable Court deems just and proper.

 Date: July 22, 2022

                                    Robertson, Anschutz, Schneid, Crane & Partners, PLLC

                                     /s/ Andrea L. Betts
                                    Andrea L. Betts
                                    Attorney for Creditor
                                    Georgia Bar #432863
                                    Robertson, Anschutz, Schneid, Crane & Partners, PLLC
                                    
                                    Duluth, GA 30097
                                    Telephone: 470-321-7112
                                    Fax: 404-393-1425
                                    E-mail: abetts@raslg.com
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                               CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that on July 22, 2022, I electronically filed the foregoing with

 the Clerk of Court by using the CM/ECF system, and a true and correct copy has been served via

 CM/ECF or United States Mail to the following parties:

 Patricia Mitchell
 301 E. Broad Street
 Louisville, GA 30434

 Joseph E. Spires
 Ward & Spires, LLC
 P O Box 1493
 Augusta, GA 30903

 Huon Le
 P.O. Box 2127
 Augusta, GA 30903

 Office of the U. S. Trustee
 33 Bull Street, Suite 400
 Savannah, GA 31401

                                     Robertson, Anschutz, Schneid, Crane & Partners, PLLC

                                      /s/ Andrea L. Betts
                                     Andrea L. Betts
                                     Attorney for Creditor
                                     Georgia Bar #432863
                                     Robertson, Anschutz, Schneid, Crane & Partners, PLLC
                                     10700 Ab
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